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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER DENYING PLAINTIFF'S
                                                    MOTION TO DISMISS
   Wright v. Monsanto Co.,
   Case No. 3:23-cv-03609-VC                        Re: Dkt. No. 19439




       The plaintiff’s request to voluntarily dismiss his case without prejudice is denied.

Monsanto filed an answer before the plaintiff’s request and did not stipulate to dismissal, so the

plaintiff must show that the dismissal is “on terms that the court considers proper.” Fed. R. Civ.

Proc. 41(a)(2). The plaintiff has not made such a showing.

       IT IS SO ORDERED.

Dated: January 13, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
